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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 UNITED STATES OF AMERICA                               *     CRIMINAL NO. 02-30043-06
                                                              CIVIL NO. 06-2241
 VERSUS
                                                        *     JUDGE JAMES
 THOMAS NATION
                                                        *     MAGISTRATE JUDGE HAYES

                              REPORT AND RECOMMENDATION

        Before the undersigned Magistrate Judge, on reference from the District Court, is a motion

 to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (Document No.508). For

 reasons stated below, it is recommended that the Motion be DENIED as untimely.

        Thomas Nation was named in Counts 1, 18, and 19 of a multi-count indictment. On August

 20, 2003, after a jury trial, he was found guilty as to all three counts. On March 2, 2004, Thomas

 Nation was sentenced to 151 months imprisonment on each count, with the sentences to run

 concurrently. Upon release from imprisonment, he will be placed on supervised release for a term

 of 5 years. (Rec. Doc. 808).

        On July 6, 2005, the defendant’s conviction and sentence were affirmed by the United States

 Court of Appeals for the Fifth Circuit. (Rec. Doc. 468). On November 7, 2005, the United States

 Supreme Court denied the defendant’s petition for Writ of Certiorari. (Rec. Doc. 483). On

 November 22, 2006, the defendant filed the pending § 2255 motion. (Rec. Doc. 508). The envelope

 in which the motion was sent indicates that it was mailed on November 20, 2006, from Farmerville,

 Louisiana. Neither the Petition nor the memorandum in support is signed or dated, and there is no

 evidence of any earlier date of filing by the Petitioner; therefore, this Court must use the date of the

 postmark as the applicable date for statute of limitations purposes.
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        As was pointed out by the government, 28 U.S.C. § 2255 was amended on April 24, 1996,

 to provide as follows regarding the statute of limitations:

        A 1-year period of limitation shall apply to a motion under this section. The
        limitation period shall run from the latest of--

                (1) the date on which the judgment of conviction becomes final;

                (2) the date on which the impediment to making a motion created by
                governmental action in violation of the Constitution or laws of the
                United States is removed, if the movant was prevented from making
                a motion by such governmental action;

                (3) the date on which the right asserted was initially recognized by the
                Supreme Court, if that right has been newly recognized by the
                Supreme Court and made retroactively applicable to cases on
                collateral review; or

                (4) the date on which the facts supporting the claim or claims
                presented could have been discovered through the exercise of due
                diligence.

        Because a conviction becomes final when the Supreme Court denies a petition for Writ of

 Certiorari, the defendant’s conviction became final on November 7, 2005. See, e.g., Caspari v.

 Bohlen, 510 U.S. 383, 114 S.Ct. 948 (1994). The defendant has raised no issues based on newly-

 discovered facts or newly-recognized rights, and has alleged no governmental action in violation of

 the Constitution or laws of the United States which prevented him from filing his motion within the

 one-year statute of limitations. Thus, the defendant’s motion, which was mailed on November 20,

 2006, is untimely, and it is recommended that it be DENIED as such.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties have

 ten (10) business days from service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court. A party may respond to another party’s objections within ten



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 (10) business days after being served with a copy thereof. A courtesy copy of any objection or

 response or request for extension of time shall be furnished to the District Judge at the time of filing.

 Timely objections will be considered by the District Judge before he makes a final ruling.

         A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

         THUS DONE AND SIGNED at Monroe, Louisiana, this 18th Day of January, 2007.




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